                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROINA
                                        DIVISION


UNITED STATES OF AMERICA

              VS.

                                                                    o R D E R


      IT IS HEREBY ORDERED that the following government exhibit(s)

admitted into evidence on                  \
                             ..:J~, ~, ~ ~/c be turned over
to Special Agent    ~ -+ ,..Q.......4. ~ A..
to be retained in his custody until this case is completed,               includ­

ing any matters on appeal:

      GOVERN. EXHIBIT NO.:                DESCRIPTION:


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                                                   Q~a"CJ-




      This   -t~        day of   _~~l..",~::.=...-+--
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                                                    _ _-----L.


                                                                                JUDGE


Received by Agent                 (signature) on                     (date)
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       Case 7:09-cr-00050-BO      Document 126           Filed 07/12/10     Page 1 of 1
